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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
                 v.
                                                          1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

           Defendant.


CONCORD MANAGEMENT AND CONSULTING LLC’S UNOPPOSED MOTION FOR
  EXTENSION OF TIME TO PROVIDE EXPERT NOTICE AND SERVE EXPERT
                            REPORTS

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully request relief from the current Scheduling Order

(ECF No. 214) in the form of an extension of time to provide expert notice and serve expert reports.

Undersigned counsel has conferred with counsel for the government who has advised that the

government does not object to the relief sought. In support of this motion, Defendant states as

follows:

       Pursuant to the Court’s Scheduling Order, the government was required to provide expert

notice on or before November 1, 2019; Concord is required to provide expert notice and serve

expert reports on or before December 2, 2019. ECF No. 214.

       On November 1, 2019, the government informed undersigned counsel that it does not

intend to introduce expert testimony, but anticipates calling witnesses to testify regarding topics

that may be unfamiliar to jurors, including but not limited to topics such as “the Internet, social

media websites, and the role of particular government agencies.” Ex. 1, Nov. 1, 2019 Letter. The




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government’s November 1, 2019 letter does not provide any information to allow Concord to

prepare to respond to any such testimony. Id.

       Concord takes issue with the government’s position that this anticipated testimony does

not constitute expert testimony and attempted to meet and confer with the government on this

issue. The government maintained its position that the anticipated testimony would not require

expert disclosure. On November 11, 2019, Concord filed a motion to compel the government to

comply with Fed. R. Crim. P. 16. ECF No. 241 (Concord’s “Motion to Compel”). Pursuant to the

Court’s November 14, 2019 Minute Order, the government’s opposition to Concord’s Motion to

Compel is due on or before November 25, 2019, and Concord’s reply brief is due on or before

December 2, 2019—the current deadline for Concord to provide expert notice and serve expert

reports.

       As noted in the Motion to Compel, Concord believes that the government’s anticipated

testimony regarding issues that may be unfamiliar to jurors constitutes expert testimony based on

specialized knowledge and requires notice under Fed. R. Crim. P. 16(a)(1)(G). Until the Court

resolves Concord’s Motion to Compel, Concord cannot fairly determine whether it should prepare

to introduce its own expert testimony and, if so, prepare the expert disclosures required by Fed. R.

Crim. P. 16(a)(1)(G).     Accordingly, Concord respectfully requests relief from the current

Scheduling Order in the form of an extension of time by which to provide expert notice and serve

expert reports.

       Concord proposes that in the event the Court grants Concord’s Motion to Compel, the

deadline by which Concord shall provide expert notice and serve expert reports be set for thirty

days following the government’s expert notice. Alternatively, in the event the Court denies




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Concord’s Motion to Compel, the deadline by which Concord shall provide expert notice and serve

expert reports be set for thirty days following the Court’s order denying the Motion to Compel.

 Dated: November 19, 2019                           Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                                    By Counsel

                                                    /s/Eric A. Dubelier
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